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                                      United States Bankruptcy Court
                                 Northern District of Illinois, Eastern Division
IN RE: Joseph O Givens                                    )             Chapter 13
                                                          )             Case No. 20 B 14640
        Debtor(s)                                         )             Judge Timothy A Barnes

                                  Notice of Motion/Certificate of Service
    Joseph O Givens                                                    Debtor Attorney: Semrad Law Firm LLC
    P O Box 440615                                                     via Clerk's ECF noticing procedures
    Chicago, IL 60644



On August 26, 2021 at 1:00 pm, I will appear before the Honorable Timothy A Barnes, or any judge sitting in
that judge's place, and present this motion, a copy of which is attached.

This motion will be presented and heard electronically using Zoom for Government. No personal
appearance in court is necessary or permitted. To appear and be heard on the motion, you must do the
following:
    To appear by video, use this link: <https://www.zoomgov.com/>. Then enter the meeting ID and
password.
    To appear by telephone, call Zoom for Government at 1-669-254-5252 or 1-646-828-7666. Then
enter the meeting ID and password.
    Meeting ID and password. The meeting ID for this hearing is 161 329 5276 and the password is
433658. The meeting ID and password can also be found on the judge’s page on the court’s website.

If you object to this motion and want it called on the presentment date above, you must file a Notice of
Objection no later than two (2) business days before that date. If a Notice of Objection is timely filed, the motion
will be called on the presentment date. If no Notice of Objection is timely filed, the court may grant the motion in
advance without a hearing.

I certify under penalty of perjury that this office caused a copy of this notice to be delivered to the persons named
above by U.S. mail or by the methods indicated on or before Saturday, July 31, 2021.


                                                                       /s/ MARILYN O. MARSHALL
                                                                       MARILYN O. MARSHALL, TRUSTEE


                                 Motion to Dismiss for Material Default
Comes now Marilyn O. Marshall, Standing Trustee, and requests that this case be dismissed pursuant to 11
U.S.C. §1307(c), and in support thereof respectfully states the following:

1. The Debtor filed for Chapter 13 relief on July 28, 2020.
2. The Debtor's plan was Confirmed on October 22, 2020.
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3. The Debtor's confirmed plan requires the debtor to submit tax returns and refunds to the Trustee starting with
   tax year 2020.
4. The Debtor has failed to tender either the 2020 tax return(s) or refund.
5. The failure to tender the tax return and refund constitutes a material default of the Debtor's confirmed plan .

WHEREFORE, the Trustee prays that this case be dismissed, and for any and all other relief this Court deems
just and proper.


Office of the Chapter 13 Trustee                                     /s/ MARILYN O. MARSHALL
224 S Michigan Ave                                                   MARILYN O. MARSHALL, TRUSTEE
Ste 800
Chicago, IL 60604
(312) 431-1300
